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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW HAMPSHIRE
In re:                                                           BK No. 10-11986-JMD
                                                                 Chapter 11
Harry H. Bean and Priscilla M. Bean,
                Debtor(s)


                                         ORDER OF THE COURT
Hearing Date:            9/8/2010 2:00 PM

Nature of Proceeding:         Doc# 94 Adequacy Of Amended Disclosure Statement
Outcome of Hearing:           ON OR BEFORE SEPTEMBER 27, 2010, THE DEBTOR SUBMIT AN
                              AMENDED PLAN; AND AN AMENDED DISCLOSURE STATEMENT ALONG
                              WITH A PROPOSED ORDER APPROVING THE DISCLOSURE STATEMENT
                              THAT INCLUDES A DATE FOR A HEARING ON THE PLAN PURSUANT TO
                              THE FINDINGS SET FORTH ON THE RECORD THIS DATE

IT IS SO ORDERED:


/s/ J. Michael Deasy          9/8/2010
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J. Michael Deasy
Bankruptcy Judge
